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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                                                                                             Oct 1, 2020
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303
                                                                                                                   MIAMI

  David J. Smith                                                                       For rules and forms visit
  Clerk of Court                                                                       www.ca11.uscourts.gov


                                           October 01, 2020

  James Buckman
  15020 S RIVER DR
  MIAMI, FL 33167

  Maurice Symonette
  4711 PARKWAY UT 4208
  SUGARLAND, TX 77479

  Appeal Number: 20-13674-D
  Case Style: James Buckman, et al v. Lancaster Mortgage Co., et al
  District Court Docket No: 1:19-cv-24184-MGC

  This Court requires all counsel to file documents electronically using the Electronic Case
  Files ("ECF") system, unless exempted for good cause. Non-incarcerated pro se parties
  are permitted to use the ECF system by registering for an account at www.pacer.gov.
  Information and training materials related to electronic filing, are available at
  www.ca11.uscourts.gov.

  The referenced case has been docketed in this court. Please use the appellate docket number
  noted above when making inquiries. Upon receipt of the district court's order concerning
  whether this appeal will be allowed to proceed in forma pauperis, we will advise you regarding
  further requirements.

  Upon entry of an order regarding in forma pauperis, the district court clerk is requested to
  forward a copy of the order and an updated copy of the docket entries.

  Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
  Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
  CIP within 14 days after the date the case or appeal is docketed in this court;
  Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case
  or appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP.
  See FRAP 26.1 and 11th Cir. R. 26.1-1.

  On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
  complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
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  filers (except attorneys appearing in particular cases as pro se parties) are not required or
  authorized to complete the web-based CIP.

  Attorneys who wish to participate in this appeal must be admitted to the bar of this Court,
  admitted for this particular proceeding pursuant to 11th Cir. R. 46-3, or admitted pro hac vice
  pursuant to 11th Cir. R. 46-4. In addition, all attorneys (except court-appointed counsel) who
  wish to participate in this appeal must file an Appearance of Counsel form within 14 days. The
  Application for Admission to the Bar and Appearance of Counsel Form are available at
  www.ca11.uscourts.gov. The clerk generally may not process filings from an attorney until that
  attorney files an appearance form. See 11th Cir. R. 46-6(b).

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Scott O'Neal, D
  Phone #: (404) 335-6189

                                                                     DKT-5 Awtg DC order on IFP
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